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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             )
                                                     )
        v.                                           )      Crim. No. 1:19-cr-148
                                                     )
PRAKAZREL MICHEL,                                    )
LOW TAEK JHO                                         )



        I, Juliana N. Murray, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

        1.     I am an Assistant United States Attorney in the Office of the United States Attorney

for the Southern District of New York.

        2.     I am one of the prosecutors handling the matter captioned United States v. Kwok et

al., 23 Cr. 118 (AT) (S.D.N.Y.) (the “Guo Case”). As such, I am familiar with the Guo Case and

the matters described herein.

        3.     The United States Attorney’s Office for the Southern District of New York began

its investigation into the conduct underlying the charges in the Guo Indictment in or about May

2020.

        4.     On or about March 6, 2023, a federal grand jury in the Southern District of New

York returned a sealed indictment (the “Guo Indictment”) charging Ho Wan Kwok, a/k/a “Miles

Guo,” a/k/a “Miles Kwok,” a/k/a “Guo Wengui,” a/k/a “Brother Seven,” a/k/a “The Principal”

(“Guo”) with 11 counts: conspiracy to commit wire, securities, and bank fraud, and money

laundering, in violation of 18 U.S.C. § 371; four counts of wire fraud, in violation of 18 U.S.C.

§§ 1343 and 2; three counts of securities fraud, in violation of 15 U.S.C. §§ 78j(b) & 78ff, 17

C.F.R. § 240.10b-5, and 18 U.S.C. § 2; and three counts of money laundering, in violation of 18



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U.S.C. §§ 1956(a)(2)(A), 1956(a)(2)(B)(i), 1957, and 2. A copy of the Guo Indictment is attached

as Exhibit A.

        5.      The prosecutors in the Guo Case, including myself, have not been involved in the

prosecution of Prakazrel Michel or Low Taek Jho (the “Michel Case”), and were not in contact

with the prosecutors in the Michel Case until after the filing of the Guo Indictment.

        6.      The charges in the Guo Indictment relate to alleged fraud conducted by Guo and

others (including co-defendant Kin Ming Je, a/k/a “William Je”) starting at least in or about 2018

and continuing through in or about March 2023. (See Guo Indictment at ¶¶ 25, 33, 35, 37, 39, 41,

43, 45, 47, 49, 51.)

        7.      The Guo Indictment alleges information about Guo’s background, including that

Guo fled to the United States in or about 2015, and further alleges that Guo founded two purported

nonprofit organizations in or about 2018 that he used “to amass followers.” (See Guo Indictment

at ¶ 6).)

        8.      Prakazrel Michel is not, and has never been, a witness, target, subject, or “person

of interest” in the Guo Case.

        I declare under penalty of perjury that the information contained in this declaration is true

and correct.

                                                     Respectfully submitted,
Dated: New York, New York
       March 20, 2023

                                                     _________________________
                                                     Juliana N. Murray
                                                     Ryan B. Finkel
                                                     Micah F. Fergenson
                                                     Assistant United States Attorneys
                                                     Southern District of New York




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